Case 7:17-cv-00568-GEC Document 35 Filed 02/28/19 Page 1 of 1 Pageid#: 163

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                                                          Case No.7:17cv568
   CRONTSTREET FACILITY SOLUTIONS,INC.,a
   Delawarecop omtion,

                  Dqfendant.


                                     DISM ISSAL ORDER

          THIS DAY came the plaintiz Advmlce Stores Company, Incorporated, and the
   defendant,FrontskeetFadlity Solutions,Inc.,by counsel,and represented totheCoM thatthe

   pnrn'eshavesettledO dcomproiised a1loftheirdiferencesrelatedto theclaimsasseled inthis

   action.

          W hereforeiitappeH ng unto the Courtproper to do so,itis hereby ORDERED and

   ADJUDGBD thatthePlaintiT sComplaintisDISMISSED withprejudice.
          The Clerk shallceM fy copies of this Am ed Order to all cotmKel of record atthe

   d dresseslisted intlw siR aturelinesbelow.
                         Enterthis1 T& day of   Fçbruaa          .   2019.




                                            SeniorUnited StatesDiskictJudge




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